case 1:17-cv-01243 Documem 1-1 Filed 12/19/17 Page 1 of 13D,ST§','5'ETDC'§U“’,'Q(T%',:_':E'§E

11/1/2017 2:57:03 PM
James A. Noe|
Catherine Chavez

STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL DISTRICT

Sara Crecca as next friend of H.S., and
M.S.

Plaintiffs,

VS. N0. D-202-CV-2017-07886

 

WALGREENS,

Defendant.

COMPLAINT FOR VIOLATIONS OF THE NEW MEXICO HUMAN RIGHTS ACT

Plaintiffs M.S. and H.S., through her next friend Sara Crecca, respectfully bring this
action pursuant to the New Mexico Human Rights Actj NMSA 1978 §§ 28-l-l to -l3 (l969, as
amended through 2007).

INTRODUCTION

H.S. is a young woman; M.S. is her mother. In August 2016, M.S. and H.S. were
unlawfully discriminated against on the basis of H.S.’s sex by a Walgreens pharmacy in
Albuquerque, New Mexico, in violation of the New Mexico Human Rights Act (NMHRA).
Walgreens denied M.S. service at its pharmacy after she attempted to fill a valid prescription
related to H.S.’s contraceptive health needs. The pharmacist on duty refused to fill the
prescription based on his personal opposition to allowing women to access certain reproductive
health care. In accordance with Walgreens’ company policy, M.S. was turned away and forced

to travel to a different pharmacy to fill her daughter’s prescription as a result of this denial.

EXH|BIT

A

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As a retail pharmacy that offers its services to the public, Walgreens is subject to the
antidiscrimination provisions of the NMHRA that prohibit any public accommodation from
making “a distinction, directly or indirectlyj in offering or refusing to offer its services, facilities,
accommodations, or goods to any person because of. . . sex . . .” NMSA 1978 § 28-l-7(F).
When Walgreens fails to fill a prescription for reasons related to women’s reproductive health, it
unlawfully discriminates on the basis of sex. As a large corporation with numerous employees,
Walgreens - a business that serves the public - can and must fill prescriptions without imposing
a discriminatory burden on women.

Forcing a woman to travel to an alternate pharmacy for a reproductive health medication
when the medication is in-stock and validly prescribed, imposes an unlawful discriminatory
burden. In addition to the inconvenience of having to travel to another location, M.S. and H.S.
suffered the indignity of being denied a service and turned away solely as a result of H.S.’s sex.

This is exactly the kind of discrimination that the New Mexico Human Rights Act prohibits.

JURISDICTION AND VENUE

l. This Court has jurisdiction pursuant to NMSAl978 §§ 28-l-lO(D) and -l3, which
grant a right to appeal an order of nondetermination from the Human Rights Bureau through a
trial de novo in district court. Plaintiffs each received an order of nondetermination on August 7,
2017, thus satisfying exhaustion requirements See Rl'sl v. Desl'gn Cenler al Floor Conceplsj 3 l4
P.3d 681j 685 (2013). See Orders of Nondetermination attached as Exhibits l and 2.

2. Venue is proper in this Court pursuant to NMSA 1978j § 28-l-13. The Walgreens
pharmacy where the discriminatory practice occurred is located and does business in Bernalillo

County.

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PARTIES

3. Plaintiff H.S. is a seventeen-year-old woman residing in Albuquerque, New
Mexico. She was fifteen years old at the time the challenged discrimination occurred. Plaintiff
H.S. brings this action by and through her next friend, Sara Crecca, who is an attorney licensed
to practice law in the state of New Mexico.

4. Plaintiffl\/[.S. is the mother of H.S. She is a resident of Albuquerque, Nl\/l.

5. Defendant Walgreens, an lllinois corporation, is one of the largest retail drugstore
chains in the U.S., with more than 8,000 stores in all 50 states, the District of Columbia, Puerto
Rico, and the U.S. Virgin Islands. As of August 3 l, 2016, according to its website, Walgreens
owned and operated 72 drugstores in the state of New Mexico, one of which is Store #4911j

located at 6000 Coors Blvd NW in Albuquerque, New Mexico.

FACTUAL ALLEGATIONS

6. H.S. is a minor female.

7. On or about August 8, 2016, Plaintiff M.S., acting as H.S.’s parent and guardian,
went to Walgreens Store #491 l -- the pharmacy that regularly fills her family’s prescriptions --
to fill three prescriptions for H.S. in preparation for a procedure to insert an intrauterine device
(IUD), which is a long-acting, highly effective form of contraception.

8. H.S.’s medical provider prescribed H.S. three medications: a mild pain reliever,
an anti-anxiety medication, and a medication called Misoprostol.

9. Misoprostol is an FDA-approved medication indicated for reducing the risk of
gastric ulcers induced by nonsteroidal anti-inflammatory drugs, including aspirinj for both men
and women. lt is also commonly used and prescribed to women for a variety of obstetrical and

gynecological uses, including medical management of miscarriage; induction of labor; treatment

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of postpartum hemorrhage; and cervical preparation before IUD insertion, which was the
purpose of H.S.’s prescription. When used in combination with another medication called
Mifeprex, Misoprostol can also be used safely to end an early pregnancy.

l0 When picking up the prescriptions at the pharmacy counter, the on-duty
pharmacist told M.S. that he had filled two of the three prescriptions, but that she would have to
go to a different Walgreens pharmacy to fill the Misoprostol. When M.S. asked for an
explanation, the pharmacist told her that the pharmacy did, in fact, have the medication in stock,
but that he would not fill the prescription because of his personal beliefs.

ll. Walgreens did not have a back-up pharmacist on duty, nor did they make any
known efforts to arrange for a back-up pharmacist to come and fill the prescription onsite. The
only solution that Walgreens’ staff offered M.S. was to transfer the prescription to another
pharmacy.

12. M.S. could not come back on a later date to fill the prescription because her
daughter’s appointment was scheduled for the following day and she was instructed to take the
medication the night before the appointment

l3. M.S. had no choice but to leave Walgreens Store #49ll and drive to a different
Walgreens pharmacy to fill the prescription for Misoprostol.

l4. M.S. was upset and outraged about the refusal of service.

15. After arriving at the second Walgreens pharmacy, M.S. spoke with a pharmacy
staff member behind the counter there about her experience at Walgreens Store #491 l. The staff
member she spoke to at the second pharmacy suggested that she go back to Walgreens Store

#491 l to speak with management

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16. M.S. immediately returned to Walgreens Store #49ll and asked to speak to a
manager After informing the assistant manager about her experience, she accompanied her to
speak with the pharmacist again directly. When M.S. asked the pharmacist why he had refused to
fill H.S.’s valid prescription, he said he was refusing to fill the prescription because he had a
“pretty good idea” what the medication would be used for.

l7. M.S. understood that the pharmacist had refused to fill her prescription because he
had assumed H.S. would use the medication for an abortion. While the medication was not
prescribed to end a pregnancy, it was prescribed to assist with a contraceptive procedure related
to women’s reproductive health.

l8. Both abortion and IUDs are linked to a woman’s ability to become pregnant and
to their ability to control their fertility. As the New Mexico Supreme Court has noted when

LLL

identifying discrimination prohibited under the New Mexico Constitution, [s]ince time
immemorialj women’s biology and ability to bear children have been used as a basis for
discrimination against them.”’ New Mexl'co Righl 10 Choose/NARAL v. Johnson, 126 N.M. 788
(l998) (quotl'ng Doe v. Maher, 5 l 5 A.Zd l34, l59 (l986)).

l9. Denials of medications that allow women to control their fertility perpetuate sex-
based stereotypes about women and their role in society. Access to such medications enable
women to decide if and when to become a parent and allow them to make decisions that affect
their education, employment, family, and health.

20. Had H.S. been a man with a valid prescription for the same medication, the
prescription would have been filled at Wal greens Store #491 l.

Zl. This experience caused M.S. to feel judged, disrespected, embarrassed, and

intimidated She also felt protective of her daughter, H.S., and did not want her to experience

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feelings of shame or stigma related to her reproductive health or the medication prescribed to her
by her medical provider.

22. When M.S. told H.S. about the discrimination she had suffered, H.S. felt disbelief
and anger. She felt that she was being made to seek Walgreens’ permission to access her chosen
contraceptive method.

23. Previous to this incident, M.S. and H.S. felt comfortable and confident at
Walgreens, and they felt safe asking pharmacy staff any and all medication related questions
The above damaged their trust in Walgreens and pharmacy staff.

24. In the weeks following this incident, a Walgreens District Manager contacted
M.S. He confirmed that the pharmacy had acted pursuant to Walgreens’ policy when staff
transferred H.S.’s prescription to another Walgreens pharmacy and sent M.S. to retrieve it after
the pharmacist on-site refused to fill the prescription because of his religious and moral beliefs.

25. According to Walgreens’ website, there are 72 licensed Walgreens pharmacies in
23 cities or towns in New Mexico. Some of these pharmacies are many miles away from another
Walgreens location. For example, there is only one Walgreens in Gallup, NM; the closest
alternate Wal greens location is in Grants, NM_ over 60 miles away. Similarlyj there is only one
Walgreens in Clovis, NM; the nearest alternate Walgreens is in Amarilloj TX - 106 miles away.

26. Plaintiffs each filed a complaint on June 2, 2017 with the New Mexico Human
Rights Bureau, as permitted under the NMHRA. On August 4, 2017, plaintiffs requested orders
of nondetermination from the Bureau, as permitted under N.M.S.A. § 28-1-10(D)j which
provides: “A person who has filed a complaint with the human rights division may request and

shall receive an order of nondetermination from the director without delay. . .” On August 7,

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2017, plaintiffs received the requested orders from the Bureau, triggering the right to file suit in

this Court.

CLAIM FOR VIOLATION OF THE NEW MEXICO HUMAN RIGHTS ACT

27 . Plaintiffs incorporate by reference the preceding paragraphs as though fully stated
herein.

28. As an establishment that provides or offers services, facilities, accommodations or
goods to the public, a Walgreens pharmacy licensed to do business in the state of New Mexico is
a “public accommodation” as defined by N.M.S.A. § 28-1-2(H).

29. Under the New Mexico Human Rights Act, it is an unlawful discriminatory
practice for a public accommodation, “to make a distinction, directly or indirectlyj in offering or
refusing to offer its services, facilities, accommodations or goods to any person because of race,
religionj color, national origin, ancestry, sex, sexual orientation, gender identity, spousal
affiliation or physical or mental handicap ..” N.M.S.A. § 28-1-7(F).

30. New Mexico state regulations promulgated under the Human Rights Act define
sex discrimination as discrimination on the basis of “pregnancy, childbirth, or related condition.”
NMAC § 9.1.1. ln other words, public accommodations may not make a distinction, directly or
indirectlyj in offering or refusing to offer services, facilities, accommodations or goods to
women based on their reproductive health needs.

31. When M.S. attempted to fill a prescription for H.S.’s medication, Walgreens
refused her service because she sought care for a purpose related to women’s reproductive
health.

32. Rather than ensure that women in these circumstances remain able to access their

reproductive health medications without facing discrimination, Walgreens has implemented a

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policy whereby women bear the entire burden of accommodating its employees’ religious or
moral objections

33. Even though the medication was in stock, Walgreens turned M.S. away from the
pharmacy at which she sought service, for a reason related to reproductive health. Walgreens
required M.S. to go to another pharmacy in order to fill H.S.’s prescription because of sex.

34. When Walgreens treats women in this way, it clearly “makes a distinction,
directly or indirectlyj in offering or refusing to offer its services,” and thus, engages in unlawful
sex discrimination under the New Mexico Human Rights Act.

35. As a public accommodation, Walgreens has a duty to ensure that customers are
not discriminated against, even when accommodating employees’ religious or moral objections

to providing services.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiffs respectfully seek the following relief :

1. A declaration that Walgreens discriminated against Plaintiffs in violation of the New
Mexico Human Rights Act;

2. Injunctive relief requiring Walgreens to change its policy to ensure that women are able
to fill their valid reproductive health prescriptions at Walgreens without experiencing
discrimination;

3. Compensatory damages;

4. Costs of suit, including but not limited to attomeys’ fees; and

5. Such further relief as the Court deems proper and the law allows.

Case 1:17-cv-01243 Document 1-1 Filed 12/19/17 Page 9 of 18

DATE; November 1, 2017

Respectfully submitted,

/s/ Erin Armstrong
Erin Armstrong

ACLU of New Mexico

P.O. BOX 566

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Case 1:17-cv-01243 Document 1-1 Filed 12/19/17 Page 10 of 18

SUSANA MARTINEZ
GOVERNOR

Ch`,lrlNA_ BUSSI".V
SECRETARY

 

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goHN SAN(;HEZ DEPAR'I‘M,ENT OF WORKFORCE SOL'UTIONS
ljl`. GOVERNOR

Labor Relatimls I)ivision
Human Rights Bureau
1596 Pachcco St., Ste. 103
Santa I"e, NM 8750$~39’/9
Phoue: (505) 827-6838

ORDER GF NON-DETERMINATION

August 7, 2017

CERTIFIED MAIL RE’_K_‘U'RN RECEI_PT REQUESTED
Sara Crecca Next Friend to H.S.

c/o Erin Armstrong, ACLU NM Attorney

1410 Coal Avc, SW

Albuquerque, NM 87104

 

Re: Sara S\ Crecca next friend to H.S. vs Walgreen
HRB # 17-~06-02-0173

Desr Ms. Crecca and H.S.:

A_s authorized by Section 28-1~10 (D) o,t`the New Mexico Human Rights Act, this letter
constitutes ali Order of N on-Determination as to your complaint Sectiou 28--1-.10 (D) of
the Act permits any person who has filed a timely complaint 'With the Human Rights
Bureau to request an Order ofNon-Determination, Section 28-1~10 (D) also requires that
the Director ofthe Bureau issue an Order of Non~Determinatlon when a proper request
for the order is made

By issuing this Order of Non-Determination, the Bureau has closed this complaint
edministratively_, with prejudice 'l`herefore, you may riot file this complaint again With
this Bureau You may obtain a new trial however, by appealing this Order ofNon-
Determination to the proper district court Accorcling to Section 28--1--13 (A) ofthe New
l\/l'exico I~iuman Righis Act, you have ninety (90) days from the date of service of`this
Order of Non-Deteririinetion to file notice of appeai in the district court of the county
Where the alleged discriminatory practice occurred or where the respondent does
business The Bureau shouid not be named as a party to the appeai, unless you have an

 

 

 

 

Case 1:17-cv-01243 Document 1-1 Filed 12/19/17 Page 11 of 18

independent end separate claim against the Bureau Section 28-1-13 (A) of the Act also
requires that you serve s copy ofthe notice ot` appeal personally or by certified mail,
return receipt requested, st the last known address of all parties You also must serve a
copy oi`the notice of appeal orr the bureau office in Ssnta iie. To properly serve the
parties, you must comp}y with any other service of process requiren'ients set forth in the
New Mexico Ruies of Civii Procedure st 1-004.

IF YOU DO NOT FILE A NU'I`ICE OF API’EAL W[',l.`H THE r- PPRUPRIATE
DISTRICT COURT WITHIN NINETY (90) DA`YS OF Y()UR RECEIPT ()ii` THIS
OR`DICR, AND IF YOU DO N()'I` PR.()PERLY SERVE THE NOTICE, YOUR
RIGH’I` '.i`() APPEAL THIS GRDER ()F NON~DETERMINATION TO THE
DISTRIC'I` C()URT WKLL EXPIRE.

If' you have any question concerning this Order of Non-Determinotion, you may contact
the Human Rights Bureau at 827-6838.

Sincerely,
,,-/' _,~.':,:)_:w`./ '

J`ason Dean
Division Director

eci Alex C. Waiker

 

 

Case 1:17-cv-01243 Document 1-1 Filed 12/19/17 Page 12 of 18

SUSANA MAR'I`INEZ

CELLNA BUSSE¥
GOVER.N OR

SI€CRETARY

 

STATE ()F NEW MEXICO
,}{)HN SANCHEZ DI€PARTMENT OF W()R,KFORCE SOLUT!ONS
LT. GOVERNOR

labor Relatlons Division
Human Rights Bureau
1596 Ps\checo St., Stc. 103
Sauta Fe, NM 87505-3979
I’houe; (505) 827-6838

errors or NoN~nannMrNArroN

August ’.7, 2017

CERTH?IED MAIL RETURN RECEIPT RE()UES'I`EU
M..S

c/o Brin Armstrong, ACLU Nl\/l Attorney

1410 Coal Ave. SW

Albuquerque, NM 8710<1-

Re: M.S. vs Walgreen
HRB # 17-06-02-0172

 

Dear Mrs. M,S:

As authorized by Section 28-1--10 (D) of the New l\/lexico Human Rights Act, this letter
constitutes an Order of Non-Determinatlon as to your complaint Seotion 28~1~10 (lj)) of
the Act permits any person Who has fried a timely complaint With the Human Rights
Bureau to request an Order of Non-Determination. Section 28~1-10 (D) also requires that
the Director of the Bureau issue an Order of Non-Determination when a proper request
for the order is made

By issuing this Order of Non-Determination, the Bureau has closed this complaint
administratively with prejudice '1`herefore, you may not tile this complaint again with
this Bureau. You may obtain anew trial however, by appealing this Order of Non~
Detei'ininatioir to the proper district court According to Section 28-1-13 (A) of the New
Mexico Human Rights Act, you have ninety (90) days from the date of service of this
Order ofNon-Determination to file notice of appeal in the district court ofthe county
Where the aileged discriminatory practice occurred or Where the respondent does
business 'l`he Bureau shouid not be named as a party to the appeal, unless you have an

 

 

Case 1:17-Cv-01243 Document 1-1 Filed 12/19/17 Page 13 of 18

independent and separate claim against the Bureeu. Section 28»1~13 (A) of the A.ct eiso
requires that you serve a copy of the notice of appeal personaily or by certified mail,
return receipt requested, et the last known address of all parties You also must serve a
copy of the notice of appeal on the bureau office in Senta Fe. ’l`o properly serve the
parties, you most compiy With any other service cf process requirements set forth in the
New i\/iexico Rul.es of Ci'vil Procedure et i~OO¢i.

,iF Y()U 100 NOT 'FELE A NOTICE {)F APPEAL WLTH I’HE- APPROPR{A'I`E
DISTRICT COUR"I` WITHIN NINETY {90) _`§)AYS ()F YOUR RE'CEH’T 011` 'I`H`iS
ORDER., AND II€` YOU D() NOT PROPERLY SERVE 'I`HE N()TICE, `YOUR
RIGHT 'I`O APPEAL THIS ORDE_R OF NON»DE”!`ERMINATI()N '.i` 0 THE
DISTRICT COURT WILL EXPIRE.

if you have any question concerning this Order of Non»Determination, you may contact
the Human Rights Bureau at 827»6838.

Si`ncereiy,

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`/ W>\__/ `”""
Jason Deen
Division Director

oct Alex C. Welitei‘

 

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James A. Noe|
Catherine Chavez

STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL DISTRICT

Sara Crecca as next friend of H.S., and
M.S.

Plaintiffs,

VS. N0, D-ZOZ-CV-2017-07886

 

WALGREENS,

Defendant.

COURT ANNEXED CERTIFICATE OF NON-ARBITRATION

Plaintiffs notify the Court that pursuant to LR2-603 this matter is not subject to court-
annexed arbitration as Plaintiffs seek relief other than a monetary judgment and/or seek relief in
excess of twenty-five thousand dollars ($25,000.00) exclusive of punitive damages, interests,

costs, and attorney fees

DATE: November lj 2017 Respectfully submitted,

/s/ Erin Armstrong
Erin Armstrong

ACLU of Nevv Mexico

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Case 1:17-Cv-01243 Document 1-1 Filed 12/19/17 Page 15 of 18

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FlLED lN lle OFFlCE
Case 1:17-0\/- 01243 Document 1- 1 Filed 12/19/17 Page 16 of 1%|STR|CT COURT C|_ERK

11/28/201712:08:45 PlVl

 

SUMMONS

 

District Court: Second Judicial Civil Case Number: D-202~CV-2017~07886
Bernalillo County, New Mexico
Court Address: 400 Lomas NW
Albuquerque, Nl\/l 87103

Court Telephone Number: (505) 841~7438

Judge: Honorable Shannon Bacon

 

 

 

Sara Crecca as next friend of H.S., and To Defendant:

M.S. WALGREENS

Plaintiffs, c/o Registered Agent CSC of Lea County lnc.
123 East Marcy Street, Suite 101

vS. Santa Fe, Nl\/l 87501

WALGREENS,

Defendant

 

 

TO THE ABOVE NAMED DEFENDANT(S): Take notice that

l. A lawsuit has been filed against you. A copy of the lawsuit is attached The Court
issued this Summons.

2. You must respond to this lawsuit in writing You must file your Written response
With the Court no later than thirty (30) days from the date you are Served with this Summons.
(The date you are considered served with the Summons is determined by Rule 1-004 Nl\/IRA)
The Court’s address is listed above.

3. You must file (in person or by mail) your Written response with the Court. When
you file your response, you must give or mail a copy to the person Who signed the lawsuit

4. If you do not respond in writing, the Court may enter judgment against you as
requested in the lawsuit

5. You are entitled to a jury trial in most types of lawsuits To ask for a jury trial, you
must request one in writing and pay a jury fee.

6. If you need an interpreter, you must ask for one in Writing.

7. You may Wish to consult a lawyer You may contact the State Bar of New Mexico
for help finding a lawyer at Www.nmbar.org; 1-800~876~6227; or 1~505-797~6066.

Dated at , New Mexico, this _ day of j j [5[2012,

 

CLE`RK OF THE l)lS'i`i`{lC'l` COURT

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.r f Attorn ys for Plaintiffs
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mg m f w k q /s/Erin Armstrong

Erin Armstrong

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Case 1:17-Cv-01243 Document 1-1 Filed 12/19/17 Page 17 of 18

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THIS SUMMONS IS ISSUED PURSUANT TG RULE 1-004 NMRA OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.

 

Case 1:17-Cv-01243 Document 1-1 Filed 12/19/17 Page 18 of 18
RETURN

STATE OF NEW MEXICO )
) ss.
COUNTY OF BERNALILLO )

I being duly swo1n on oath, say that l am ove1 the age of eighteen (18) yeals and not a party to this lawsuit and thatl
served this summons in Santa Fe County on Novembel 22 2017 by delivering a copy of thls summons with a copy of
complaint attached m the following manne1:

 

[Check one box and fill in appropriate blanks]

[] To defendant (to be used when pelson receives a copy of the summons and
complaint 01 lefuses to accept the summons and complaint)

[] to the defendant by [mail] [coulie1 selvice] as p10vided by Rule 1- 004 NMRA (used when service is by mail 01
commercial com ie) se) vice)

After attempting to serve the summons and complaint on the defendant by personal Service 01' by mail 01‘ commercial courier
service, by delivering a copy of this summons, with a copy of complaint attached, in the following manner:

 

[ ] To person ove1 eighteen (18) yeals of age and lesiding at the usual place of abode of
defendant, (used when the defendant ls not presently at place of abode) located at

(z`nsel t defendant’s last known mailing add) ess) a copy of the summons and complaint the time of such Selvice was
absent there from

[ ] To the person apparently m chai ge at the actual place of business 01 employment of the
defendant and by mailing by fn st class mail to the defendant at (l'nse) tdefehdant's business address) and by
mailing the summons and complaint by fnst class mail to the defendant at (l`nserl dej%ndants last
known mailing address)

 

[X] To Carla Henson Administrative Assistant at the Office of Scheuer & Yost CSC of Lea Countv lnc.
located at 123 EaSt Malcy St. Suite 101 Santa Fe NM 87501 an agent autholized to receive se1vice of process f01

Defendant Walgreen’ S.

[] To [parent] [guardian] [custodian] conservator] [guardian ad litem] of defendant
fused when defendant is a minor or an incompetent person)

[] To title of pe1s0n authorized to leceive service (used when Defendant ls a
colpolation 01 association subject to suit undei a common name, a land gxant, board 11 ustees the State ofNew Mexico, 01 any

political subdivision)

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Judge, Notaiy Public,V or other Officer
Authorized to Administer Public Oaths

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Official Title

 

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